                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No. 2:02-CR-072
                                                )
ROY ROBINSON                                    )

                                      ORDER

              Pro se, the defendant has submitted an August 2014 letter motion to the

court, arguing that his 2011 revocation judgment was based on an incorrect grade of

violation. The letter could be read as a motion to vacate under 28 U.S.C. § 2255.

However, no matter how the letter motion is construed, it is untimely and must be

denied.

              “[T]he court may modify an imposed term of imprisonment to the extent

otherwise expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal

Procedure.” 18 U.S.C. § 3582(c)(1)(B). “Only two statutory provisions permit such a

modification: 28 U.S.C. §§ 2106 and 2255[.]” United States v. Zabawa, 134 F. App’x

60, 67 (6th Cir. 2005).     Section 2106, pertaining to intervening reversals by the

Supreme Court or another appellate court, is inapplicable here.

              Were the court to construe the defendant’s letter as a § 2255 motion, the

defendant would be immediately confronted by 28 U.S.C. § 2255(f), which provides in

pertinent part:




Case 2:02-cr-00072-RLJ     Document 456 Filed 03/25/15            Page 1 of 4   PageID #:
                                       711
             (f)     A 1-year period of limitation shall apply to a motion under
             this section. The limitation period shall run from the latest of—

                (1) the date on which the judgment of conviction becomes final[.]

             By the terms of that statute, the one-year limitations period begins to run

when the conviction becomes final. Id. The defendant did not file a direct appeal of his

revocation sentence and, thus, his conviction became final 14 days after entry of the

judgment order, upon the lapse of the time for filing a notice of appeal to the Sixth

Circuit. See Fed. R. App. P 4(b). Because his conviction became final in March 2011,

the defendant would have had one year from that time to file a § 2255 motion. The

present motion was not filed until August 2014 and, if construed as a § 2255 motion,

would clearly be time-barred.

             Typically, the Court would not consider recharacterizing the defendant’s

letter as a § 2255 motion because of potentially adverse consequences attached to filing

of another § 2255 motion. One of those consequences is that any that subsequent motion

would be subject to the restrictions on "second or successive" motions in 28 U.S.C. §

2255(h). See Castro v. United States, 540 U.S. 375, 382 (2003) (before a pro se litigant’s

motion may be recharacterized as a first § 2255 motion, the district court must give

certain warnings); accord In re Shelton, 295 F.3d 620, 622 (6th Cir. 2002).

             Warnings about those consequences, however, would not be necessary in

this case because the present motion, though would be defendant’s first motion to vacate,

is time-barred and none of those disadvantages would attach to the treatment of the letter

as a § 2255 motion. See United States v. Martin, 357 F.3d 1198, 1200 (10th Cir. 2004);


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Case 2:02-cr-00072-RLJ      Document 456 Filed 03/25/15         Page 2 of 4    PageID #:
                                        712
United States v. Chew, 284 F.3d 468, 471 (3d Cir. 2002) (Where a motion to vacate is

time-barred, providing notice is “an exercise in futility.”); Brock v. United States, 2010

WL 348296, *1, n.1(S.D.Ohio, Jan. 26, 2010) (“However, the concerns of In re Shelton,

i.e., that the ‘recharacterized petition may be his first and only chance to seek relief under

§ 2255,’ are not applicable here, since petitioner's § 2255 is time-barred.”) (internal

citation omitted).

                Next, Rule 35 is also inapplicable to the present motion, as that rule

 authorizes correction or reduction of sentence only: (1) upon a substantial assistance

 motion filed by the government; or (2) to “correct a sentence that resulted from

 arithmetical, technical, or other clear error” if done within 14 days after sentencing. See

 Fed. R. Crim. P. 35. The motion now before the court is not brought by the government

 for substantial assistance, and Rule 35(a)’s 14-day window has long closed. Further,

 there was no “arithmetical, technical, or other clear error” in this case.

                Beyond the 14-day period set by Rule 35(a), “the court has jurisdiction to

 amend the sentence only in conformity with Rule 36.” United States v. Robinson, 368

 F.3d 653, 656 (6th Cir. 2004). Rule 36 allows the court to correct “clerical errors” or

 “errors in the record arising from oversight or omission.” See Fed. R. Crim. P. 36. Rule

 36 is available only to correct clerical errors, not to cure “unexpressed sentencing

 expectations.” Robinson, 368 F.3d at 656-57. The defendant has alleged no clerical

 error in this case.




                                               3

Case 2:02-cr-00072-RLJ        Document 456 Filed 03/25/15           Page 3 of 4    PageID #:
                                          713
            In sum, the defendant’s letter motion is untimely no matter how it is

construed. The motion [doc. 454] is therefore DENIED.



           IT IS SO ORDERED.

                                                  ENTER:



                                                         s/ Leon Jordan
                                                   United States District Judge




                                        4

Case 2:02-cr-00072-RLJ   Document 456 Filed 03/25/15       Page 4 of 4    PageID #:
                                     714
